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                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF OREGON
                                        EUGENE DIVISION


WYATT B., et al.,                                                   Case No. 6:19-cv-00556
                                   Plaintiffs,
                                                                    PLAINTIFFS’ RESPONSE TO
               v.                                                   DEFENDANTS’ OBJECTIONS TO
                                                                    PLAINTIFFS’ WITNESS
TINA KOTEK, et al.,                                                 STATEMENTS

                                   Defendants.




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                                       GENERAL RESPONSES

         Per the direction of the Court, and because this is a bench trial, Plaintiffs understand that

most evidentiary issues will be decided during the course of trial. To that end, Plaintiffs provide

the following General Responses, which are incorporated below, and address most of Defendants’

specific objections, which are better reserved for trial.

    1. Federal Rule of Evidence 401 Defendants object (generally and specifically) pursuant to

FRE 401 that the testimony offered by Plaintiffs’ witnesses is not relevant. Plaintiffs respond that

the facts offered during the course of trial will be offered to make a fact more or less probable than

it would be without the evidence and will be of consequence in determining the action. The Court

will be able to assess the probative value at the time it is offered. For this reason, these objections

should be reserved for trial.

    2. Federal Rule of Evidence 403 Defendants object (generally and specifically) that specific

evidence may be prejudicial to Defendants. Plaintiffs respond that these objections are premature.

The Court may exclude relevant evidence if its probative value is substantially outweighed by a

danger of one or more of the following: unfair prejudice, confusing the issues, misleading, undue

delay, wasting time, or needlessly presenting cumulative evidence. This type of objection is more

appropriate if the evidence is being offered to a jury. Since this is a bench trial, the Court will be

able to weigh the evidence and its probative value at the time it is offered. For this reason, these

objections should be reserved for trial.

    3. Federal Rule of Evidence 404 Defendants move to exclude any character evidence per

FRE 404(a) or evidence of prior bad acts pursuant to FRE 404(b). The rule prohibits introducing

evidence of any other crime, wrong, or act is not admissible to prove a person’s character in order

to show that on a particular occasion the person acted in accordance with the character. Plaintiffs

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respond that this rule is typically used in the criminal context to prohibit a prosecutor from

introducing prior crimes that could negatively prejudice a defendant. In the present case, the

Defendants are not persons with character, Defendants are an institution responsible for a child

welfare system that is on trial.

    4. Federal Rule of Evidence 408 Defendants object (generally and specifically) to any

evidence being offered of “settlement agreements” that Defendants have entered into with

individuals or classes of individuals relating to Defendants’ past conduct. Plaintiffs intend to offer

evidence relating to the underlying facts that resulted in those settlement agreements, together with

Defendants’ history of failing to perform under some settlement agreements. The acts, not the

settlement agreements are the evidence being offered.

         Additionally, Defendants appear to misread the rule. FRE 408 prohibits evidence to prove

or disprove the validity of a disputed claim or to impeach by a prior inconsistent statement made

in compromising or attempting to compromise “the claim”; and conduct or a statement made

during compromise negotiations about “the claim.” Plaintiffs do not intend to offer any evidence

regarding any offer of compromise relating to the claims at issue in this lawsuit. Rather, evidence

will be offered relating to past claims, in past cases, and Defendants continued failures relating to

the settlement thereof. FRE 408 is inapplicable to the evidence being offered.

    5. Federal Rule of Evidence 602 Defendants object (generally and specifically) pursuant to

FRE 602 that Plaintiffs’ witnesses lack personal knowledge. Plaintiffs respond that the facts

offered by witnesses at trial will be based on those witnesses personal knowledge and experience.

Plaintiffs’ witnesses are children, parents, juvenile attorneys, advocates and legislators. The Court

will be able to assess the personal knowledge and experience of each of Plaintiffs’ witnesses at the

time the testimony is offered. For this reason, these objections should be reserved for trial.


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    6. Federal Rule of Evidence 701 Defendants object (generally and specifically) pursuant to

FRE 701 that Plaintiffs’ witnesses are providing improper opinion testimony. Plaintiffs respond

that any opinions offered by lay witnesses at trial will be limited to those opinions that are:

(a) rationally based on the their perception; helpful to clearly understanding the witness’s

testimony or to determining a fact in issue; and (c) not based on scientific, technical, or other

specialized knowledge within the scope of FRE 702. The court will be able to assess the opinions

of each of Plaintiffs’ witnesses at the time the testimony is offered. For this reason, these objections

should be reserved for trial.

    7. Federal Rule of Evidence 801 and 802 Defendants object (generally and specifically)

pursuant to FRE 801 and 802 that Plaintiffs’ witnesses will be testifying to improper hearsay.

Plaintiffs respond that the facts offered by witnesses at trial will not be hearsay because it is either

a statement by a party opponent or not being offered to prove the truth of the matter asserted.

Additionally, if hearsay, it may fall within an exception pursuant to FRE 803. The Court will be

able to assess the specific statement that is being offered, and the purpose of the testimony, at the

time the testimony is offered. For this reason, these objections should be reserved for trial.

    8. Motions if Limine Defendants object to Plaintiffs’ witness testimony as inadmissible for

the reasons explained in Defendants’ Motions in Limine. Defendants’ Motions in Limine should

be denied for the reasons explained in Plaintiff’s Response to Defendants’ Motions in Limine,

which will be filed on April 29, 2024, and therefore, Defendants’ objections on this basis should

also be rejected.

                                   CATEGORIES OF WITNESSES

    1. Lay Witnesses In response to Defendants’ objections, Plaintiffs’ lay witnesses will testify

 at trial based on personal knowledge and their percipient observations and shall be in accordance


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 with FRE 701.

    2. Expert Witnesses Plaintiffs have fully and properly disclosed all intended experts and

 their reports. To the extent Defendants have mischaracterized lay witness testimony as improper

 (and undisclosed) expert testimony, the testimony being offered by lay witnesses will be in

 accordance with FRE 701.

    3. Adverse Witnesses Plaintiffs have provided witness statements describing the anticipated

testimony of adverse witnesses. ECF 413. Plaintiffs are fully entitled to designate deposition

testimony of Rebecca Jones Gaston for use during Plaintiffs’ case in chief.

    4. Undisclosed Witnesses Plaintiffs disclosed the names of youth witnesses once the Court

entered the amended stipulated protective order, as was discussed between the parties. Defendants

have been in no way prejudiced by the timing of the disclosure.


        PLAINTIFFS’ RESPONSE TO OBJECTIONS – INDIVIDUAL WITNESSES

                 1. Anna Abraham (Citizen Review Board), Fact Witness – Page 2

                                               Anna Abraham
            Testimony                  Defendants’ Objections                      Plaintiffs’ Response
                             FRE 602: witness lacks personal See responses above.
 Placement stability remains knowledge; FRE 701: improper
 a “huge problem” in Child lay witness opinion; FRE 802:
 Welfare                     hearsay; see also defendants’
                             motions in limine
                                   FRE 403: unduly prejudicial and See responses above.
                                   misleading; FRE 602: witness
 Experiences of individual         lacks personal knowledge; FRE
 children with multiple            701: improper lay witness
 placements                        opinion; FRE 802: hearsay; see
                                   also defendants’ motions in
                                   limine




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                                               Anna Abraham
            Testimony                  Defendants’ Objections                         Plaintiffs’ Response
                              FRE 403: cumulative evidence to See responses above.
 ODHS’s use of temporary
                              that offered from other witnesses;
 lodging, including with
                              FRE 602: witness lacks personal
 respect to children with
                              knowledge; FRE 701: improper
 disabilities, and the
                              lay witness opinion; FRE 802:
 duration of children’s stays
                              hearsay; see also defendants’
 in temporary lodging
                              motions in limine
                                   FRE 602: witness lacks personal See responses above.
 “ODHS fails to provide            knowledge; FRE 701: improper
 children and families with        lay witness opinion; FRE 802:
 adequate services”                hearsay; see also defendants’
                                   motions in limine
                                   FRE 403: unduly prejudicial and See responses above.
                                   misleading; FRE 602: witness
                                   lacks personal knowledge; FRE
 Wait times for mental
                                   701: improper lay witness
 health services
                                   opinion; FRE 802: hearsay; see
                                   also defendants’ motions in
                                   limine
 ODHS’s “fealty” to an       FRE 602: witness lacks personal See responses above.
 approved service contractor knowledge; FRE 701: improper
 list and resulting          lay witness opinion; FRE 802:
 consequences of adherence hearsay; see also defendants’
 to that list                motions in limine
                                   FRE 403: unduly prejudicial and See responses above.
 Caseworker turnover, and
                                   misleading; FRE 602: witness
 its effects on children with
                                   lacks personal knowledge; FRE
 special needs, on families,
                                   701: improper lay witness
 and anecdotes relating to
                                   opinion; FRE 802: hearsay; see
 isolated interactions with
                                   also defendants’ motions in
 individual caseworkers
                                   limine
                                   FRE 401: lacks relevance                       See responses above.
 Ms. Abraham’s personal            because it does not relate to any
 attempts to obtain reports        claim or defense; FRE 802:
 from ODHS                         hearsay; see also defendants’
                                   motions in limine




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                   2. Paul Aubry (Next Friend; attorney), Fact Witness – Page 3

                                                  Paul Aubry
           Testimony                    Defendants’ Objections                      Plaintiffs’ Response
ODHS’s “failure” to                FRE 602: witness lacks personal  See responses above.
provide appropriate                knowledge; FRE 701: improper lay
substitute placements and          witness opinion; FRE 802:
an adequate number of              hearsay; see also defendants’
resource homes                     motions in limine
ODHS’s use of temporary                                          See responses above.
                              FRE 403: unduly prejudicial and
lodging and “TL-
                              misleading; FRE 602: witness
prevention” homes, its
                              lacks personal knowledge; FRE
correlation with availability
                              701: improper lay witness opinion;
of resource homes, and the
                              FRE 802: hearsay; see also
quality of services in
                              defendants’ motions in limine
temporary lodging
                                   FRE 403: unduly prejudicial and    See responses above.
ODHS’s “failure” to
                                   misleading; FRE 602: witness
provide adequate services,
                                   lacks personal knowledge; FRE
including medication
                                   701: improper lay witness opinion;
administration and mental
                                   FRE 802: hearsay; see also
health treatment
                                   defendants’ motions in limine
                                   FRE 403: unduly prejudicial and    See responses above.
Opinions regarding the             misleading; FRE 602: witness
efficacy of ODHS’s                 lacks personal knowledge; FRE
medication administration          701: improper lay witness opinion;
and any related examples           FRE 802: hearsay; see also
                                   defendants’ motions in limine
ODHS’s “failure” to                FRE 403: unduly prejudicial and    See responses above.
provide timely mental              misleading; FRE 602: witness
health services and its            lacks personal knowledge; FRE
reliance on referral               701: improper lay witness opinion;
services, particularly with        FRE 802: hearsay; see also
respect to teenagers               defendants’ motions in limine
                                   FRE 403: unduly prejudicial and    See responses above.
“ODHS will make no
                                   misleading; FRE 602: witness
additional efforts to meet a
                                   lacks personal knowledge; FRE
child’s needs absent
                                   701: improper lay witness opinion;
intervention from outside
                                   FRE 802: hearsay; see also
service providers”
                                   defendants’ motions in limine




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                                                   Paul Aubry
           Testimony                    Defendants’ Objections                         Plaintiffs’ Response
                                   FRE 401: lacks relevance because                See responses above.
Personal observations of
                                   it does not relate to any claim or
poor caseworker
                                   defense; FRE 802: hearsay; see
performance or training
                                   also defendants’ motions in limine
                             FRE 401: lacks relevance because See responses above.
“ODHS severely
                             it does not relate to any claim or
undervalues line-level
                             defense; FRE 602: witness lacks
caseworkers, (and) their
                             personal knowledge; FRE 701:
menial salaries (are) widely
                             improper lay witness opinion; FRE
out of alignment with the
                             802: hearsay; see also defendants’
job’s underlying demands”
                             motions in limine
                                   FRE 401: lacks relevance because                See responses above.
                                   it does not relate to any claim or              Additionally, in response to
                                   defense; FRE 404(a): improper                   the FRE 404(a) objection, the
Professional errors and/or         character evidence; FRE 602:                    evidence being offered is not
poor outcomes and their            witness lacks personal knowledge;               character evidence or prior
connection to “ODHS                FRE 701: improper lay witness                   bad acts; rather, it is
casework deficits and              opinion; FRE 802: hearsay; see                  evidence, based on the
failure to take                    also defendants’ motions in limine              witnesses’ own personal
accountability”                                                                    knowledge of the actions
                                                                                   taken by Defendants and
                                                                                   their agents that are at issue
                                                                                   in this case.
                            FRE 401: lacks relevance because See responses above.
                            it does not relate to any claim or
Examples regarding          defense; FRE 403: unduly
“ODHS’s particular          prejudicial and misleading; FRE
animus” toward a particular 602: witness lacks personal
mother and the impact on knowledge; FRE 701: improper lay
her child                   witness opinion; FRE 802:
                            hearsay; see also defendants’
                            motions in limine
                                   FRE 401: lacks relevance because                See responses above.
                                   it does not relate to any claim or
ODHS withholds reports             defense; FRE 602: witness lacks
from juvenile counsel              personal knowledge; FRE 802:
                                   hearsay; see also defendants’
                                   motions in limine




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                                                   Paul Aubry
           Testimony                    Defendants’ Objections                         Plaintiffs’ Response
A Clatsop County judge’s           FRE 401: lacks relevance because                See responses above.
standing order regarding           it does not relate to any claim or
ODHS’s required                    defense; FRE 602: witness lacks
disclosures to third parties       personal knowledge; FRE 802:
and the reasons for that           hearsay; see also defendants’
order                              motions in limine

                        3. Dr. Angelique Day (MSW), Expert Witness – Page 6

                                             Dr. Angelique Day
           Testimony                    Defendants’ Objections                         Plaintiffs’ Response
                                   See defendants’ Daubert motion;                 See Plaintiffs’ responses to
Expert reports dated               FRE 802: hearsay (if plaintiffs                 Defendants’ Daubert motion;
December 9, 2019;                  intend to introduce expert reports              see responses to Defendants’
December 15, 2023.                 as evidence)                                    objections to Plaintiffs’
                                                                                   exhibits.

                        4. Dr. Rose Eagle (psychologist), Fact Witness – Page 6

                                                 Dr. Rose Eagle
          Testimony                    Defendants’ Objections                          Plaintiffs’ Response
                                   FRE 401: lacks relevance because See responses above. In
                                   it does not relate to any claim or addition, Defendants’ FRE 702
                                   defense; FRE 408: evidence of      objection is improper as any
                                   settlement to prove liability; FRE opinion of Dr. Eagle will be an
Psychological evaluations
                                   701: improper lay witness opinion; opinion appropriate pursuant to
of R.L..
                                   FRE 702: improper, undisclosed FRE 701 and not being offered
                                   expert opinion; FRE 802: hearsay; as expert testimony.
                                   see also defendants’ motions in
                                   limine
                          FRE 401: lacks relevance because See responses above. In
                          it does not relate to any claim or addition, Defendants’ FRE 702
Descriptions of documents
                          defense; FRE 408: evidence of      objection is improper as any
and information provided
                          settlement to prove liability; FRE opinion of Dr. Eagle will be an
to her in connection to
                          701: improper lay witness opinion; opinion appropriate pursuant to
those evaluations, and
                          FRE 702: improper, undisclosed FRE 701 and not being offered
documents withheld from
                          expert opinion; FRE 802: hearsay; as expert testimony.
her
                          see also defendants’ motions in
                          limine


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                                                 Dr. Rose Eagle
          Testimony                    Defendants’ Objections                          Plaintiffs’ Response
                                   FRE 401: lacks relevance because See responses above. In
                                   it does not relate to any claim or addition, Defendants’ FRE 702
Impact of ODHS’s                   defense; FRE 408: evidence of      objection is improper as any
documentation and                  settlement to prove liability; FRE opinion of Dr. Eagle will be an
information on witness’s           701: improper lay witness opinion; opinion appropriate pursuant to
clinical assessment and            FRE 702: improper, undisclosed FRE 701 and not being offered
resulting opinion                  expert opinion; FRE 802: hearsay; as expert testimony.
                                   see also defendants’ motions in
                                   limine

                  5. Dr. Roxanne Edwinson (psychologist), Fact Witness – Page 7

                                          Dr. Roxanne Edwinson
           Testimony                    Defendants’ Objections                         Plaintiffs’ Response
                                   FRE 602: lacks personal                         See responses above. In
                                   knowledge; FRE 701: improper                    addition, Defendants’ FRE 702
Inconsistent provision of
                                   lay witness opinion; FRE 702:                   objection is improper as any
stable and/or appropriate
                                   improper, undisclosed expert                    opinion of Dr. Edwinson will
placements for children in
                                   opinion; FRE 802: hearsay; see                  be an opinion appropriate
foster care
                                   also defendants’ motions in                     pursuant to FRE 701.
                                   limine
                              FRE 602: lacks personal                              See responses above. In
                              knowledge; FRE 701: improper                         addition, Defendants’ FRE 702
“Chronic” and “systemic”
                              lay witness opinion; FRE 702:                        objection is improper as any
issues relating to inadequate
                              improper, undisclosed expert                         opinion of Dr. Edwinson will
resources, training and
                              opinion; FRE 802: hearsay; see                       be an opinion appropriate
preparation
                              also defendants’ motions in                          pursuant to FRE 701.
                              limine
                            FRE 403: unduly prejudicial and                        See responses above. In
                            misleading; FRE 602: lacks                             addition, Defendants’ FRE 702
Injuries to foster children
                            personal knowledge; FRE 701:                           objection is improper as any
arising from multiple
                            improper lay witness opinion;                          opinion of Dr. Edwinson will
placement changes, unstable
                            FRE 702: improper, undisclosed                         be an opinion appropriate
caretaking, and/or
                            expert opinion; FRE 802:                               pursuant to FRE 701.
mismatched placements
                            hearsay; see also defendants’
                            motions in limine




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                                         Dr. Roxanne Edwinson
           Testimony                   Defendants’ Objections                         Plaintiffs’ Response
                            FRE 403: unduly prejudicial and                       See responses above. In
                            misleading; FRE 602: lacks                            addition, Defendants’ FRE 702
Placement changes that
                            personal knowledge; FRE 701:                          objection is improper as any
occur with “the receiving
                            improper lay witness opinion;                         opinion of Dr. Edwinson will
caregivers having important
                            FRE 702: improper, undisclosed                        be an opinion appropriate
information about the
                            expert opinion; FRE 802:                              pursuant to FRE 701.
child.”
                            hearsay; see also defendants’
                            motions in limine
Anecdotal testimony                                                               See responses above. In
                                   FRE 403: unduly prejudicial and
regarding a sibling group                                                         addition, Defendants’ FRE 702
                                   misleading; FRE 602: lacks
that was placed with                                                              objection is improper as any
                                   personal knowledge; FRE 701:
“unfamiliar relatives,”                                                           opinion of Dr. Edwinson will
                                   improper lay witness opinion;
characterized as “a                                                               be an opinion appropriate
                                   FRE 702: improper, undisclosed
therapeutically unsound                                                           pursuant to FRE 701.
                                   expert opinion; FRE 802:
action that aggravates
                                   hearsay; see also defendants’
underlying trauma
                                   motions in limine
symptoms.”
Observations regarding             FRE 403: unduly prejudicial and                See responses above. In
children whose mental              misleading; FRE 602: lacks                     addition, Defendants’ FRE 702
health diagnoses and/or            personal knowledge; FRE 701:                   objection is improper as any
symptoms were “uniquely            improper lay witness opinion;                  opinion of Dr. Edwinson will
attributable” to the “volume       FRE 702: improper, undisclosed                 be an opinion appropriate
of attachment disruptions          expert opinion; FRE 802:                       pursuant to FRE 701.
and placement transitions”         hearsay; see also defendants’
they experienced                   motions in limine
                            FRE 403: unduly prejudicial and                       See responses above. In
                            misleading; FRE 602: lacks                            addition, Defendants’ FRE 702
“Standard policies” being   personal knowledge; FRE 701:                          objection is improper as any
inadequate with regard to   improper lay witness opinion;                         opinion of Dr. Edwinson will
mental health screening and FRE 702: improper, undisclosed                        be an opinion appropriate
services                    expert opinion; FRE 802:                              pursuant to FRE 701.
                            hearsay; see also defendants’
                            motions in limine
                             FRE 403: unduly prejudicial and                      See responses above. In
Resource parents are often misleading; FRE 602: lacks                             addition, Defendants’ FRE 702
unprepared to handle         personal knowledge; FRE 701:                         objection is improper as any
children’s stress-related    improper lay witness opinion;                        opinion of Dr. Edwinson will
issues, and the              FRE 702: improper, undisclosed                       be an opinion appropriate
consequences of that lack of expert opinion; FRE 802:                             pursuant to FRE 701.
preparedness                 hearsay; see also defendants’
                             motions in limine

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                                         Dr. Roxanne Edwinson
           Testimony                   Defendants’ Objections                         Plaintiffs’ Response
                                   FRE 403: unduly prejudicial and                See responses above. In
                                   misleading; FRE 602: lacks                     addition, Defendants’ FRE 702
The intersection between           personal knowledge; FRE 701:                   objection is improper as any
resource parents’ skills and       improper lay witness opinion;                  opinion of Dr. Edwinson will
foster children’s common           FRE 702: improper, undisclosed                 be an opinion appropriate
behavioral issues                  expert opinion; FRE 802:                       pursuant to FRE 701.
                                   hearsay; see also defendants’
                                   motions in limine
                                   FRE 403: unduly prejudicial and                See responses above. In
                                   misleading; FRE 602: lacks                     addition, Defendants’ FRE 702
                                   personal knowledge; FRE 701:                   objection is improper as any
Specific instances of “poor
                                   improper lay witness opinion;                  opinion of Dr. Edwinson will
case planning” and its
                                   FRE 702: improper, undisclosed                 be an opinion appropriate
impacts on children
                                   expert opinion; FRE 802:                       pursuant to FRE 701.
                                   hearsay; see also defendants’
                                   motions in limine
                                   FRE 403: unduly prejudicial and                See responses above. In
Observations “among many           misleading; FRE 602: lacks                     addition, Defendants’ FRE 702
cases” regarding transitions       personal knowledge; FRE 701:                   objection is improper as any
handled with poor                  improper lay witness opinion;                  opinion of Dr. Edwinson will
communication, lack of             FRE 702: improper, undisclosed                 be an opinion appropriate
attention to children’s            expert opinion; FRE 802:                       pursuant to FRE 701.
needs, and other problems          hearsay; see also defendants’
                                   motions in limine
                             FRE 403: unduly prejudicial and                      See responses above. In
                             misleading; FRE 701: improper                        addition, Defendants’ FRE 702
Operations of the RAPID
                             lay witness opinion; FRE 702:                        objection is improper as any
program and its interactions
                             improper, undisclosed expert                         opinion of Dr. Edwinson will
with ODHS, resource
                             opinion; FRE 802: hearsay; see                       be an opinion appropriate
parents, and foster children
                             also defendants’ motions in                          pursuant to FRE 701.
                             limine
                                   FRE 403: unduly prejudicial and                See responses above. In
                                   misleading; FRE 602: lacks                     addition, Defendants’ FRE 702
ODHS’s failure to address
                                   personal knowledge; FRE 701:                   objection is improper as any
transportation problems,
                                   improper lay witness opinion;                  opinion of Dr. Edwinson will
language barriers, and
                                   FRE 702: improper, undisclosed                 be an opinion appropriate
examples of a lack of
                                   expert opinion; FRE 802:                       pursuant to FRE 701.
support
                                   hearsay; see also defendants’
                                   motions in limine



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                                         Dr. Roxanne Edwinson
           Testimony                   Defendants’ Objections                         Plaintiffs’ Response
                           FRE 403: unduly prejudicial and                        See responses above. In
                           misleading; FRE 602: lacks                             addition, Defendants’ FRE 702
Resource parents declining personal knowledge; FRE 701:                           objection is improper as any
to continue fostering      improper lay witness opinion;                          opinion of Dr. Edwinson will
children because of ODHS’s FRE 702: improper, undisclosed                         be an opinion appropriate
lack of support            expert opinion; FRE 802:                               pursuant to FRE 701.
                           hearsay; see also defendants’
                           motions in limine
                           FRE 403: unduly prejudicial and                        See responses above. In
ODHS’s use or misuse of
                           misleading; FRE 602: lacks                             addition, Defendants’ FRE 702
the Child and Adolescent
                           personal knowledge; FRE 701:                           objection is improper as any
Needs and Strengths
                           improper lay witness opinion;                          opinion of Dr. Edwinson will
(CANS) assessment, and the
                           FRE 702: improper, undisclosed                         be an opinion appropriate
resulting outcomes,
                           expert opinion; FRE 802:                               pursuant to FRE 701.
including opinions about
                           hearsay; see also defendants’
those outcomes
                           motions in limine
                                   FRE 403: unduly prejudicial and                See responses above. In
How CANS assessments               misleading; FRE 602: lacks                     addition, Defendants’ FRE 702
result in inappropriate            personal knowledge; FRE 701:                   objection is improper as any
placements, and specific           improper lay witness opinion;                  opinion of Dr. Edwinson will
aspects of the assessment          FRE 702: improper, undisclosed                 be an opinion appropriate
process that lead to those         expert opinion; FRE 802:                       pursuant to FRE 701.
results                            hearsay; see also defendants’
                                   motions in limine
“Oregon’s provision of                                                            See responses above. In
                             FRE 403: unduly prejudicial and
child welfare services is                                                         addition, Defendants’ FRE 702
                             misleading; FRE 602: lacks
uniquely failing certain                                                          objection is improper as any
                             personal knowledge; FRE 701:
constituencies, including                                                         opinion of Dr. Edwinson will
                             improper lay witness opinion;
children in need of acute                                                         be an opinion appropriate
                             FRE 702: improper, undisclosed
care and/or culturally                                                            pursuant to FRE 701.
                             expert opinion; FRE 802:
appropriate and trauma-
                             hearsay; see also defendants’
informed placement settings
                             motions in limine
and mental health supports.”




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                                           Dr. Roxanne Edwinson
           Testimony                     Defendants’ Objections                          Plaintiffs’ Response
                                    FRE 403: unduly prejudicial and                 See responses above. In
                                    misleading; FRE 602: lacks                      addition, Defendants’ FRE 702
                                    personal knowledge; FRE 701:                    objection is improper as any
Opinion and evaluation of           improper lay witness opinion;                   opinion of Dr. Edwinson will
Child X and any injuries or         FRE 702: improper, undisclosed                  be an opinion appropriate
damages to Child X                  expert opinion; FRE 802:                        pursuant to FRE 701. Please
                                    hearsay; FRCP 37(c): exclusion                  see Plaintiffs’ response to
                                    for failure to disclose; see also               Motion in limine relating to the
                                    defendants’ motions in limine                   FRCP 37(c) issue.

                  6.    Dr. Anne Farina (MSW, LICSW), Expert Witness – Page 12

                                                Dr. Anne Farina
          Testimony                     Defendants’ Objections                           Plaintiffs’ Response
                                                                                    See Plaintiffs’ responses to
                         See defendants’ Daubert motion;
Expert reports dated                                                                Defendants’ Daubert motion;
                         FRE 802: hearsay (if plaintiffs
December 15, 2023; March                                                            see responses to Defendants’
                         intend to introduce expert reports
1, 2024.                                                                            objections to Plaintiffs’
                         as evidence)
                                                                                    exhibits.

                          7. Tracy Frazier (attorney), Fact Witness – Page 13

                                                  Tracy Frazier
          Testimony                     Defendants’ Objections                           Plaintiffs’ Response
A lack of placements in            FRE 602: witness lacks personal    See responses above.
Columbia and Clatsop               knowledge; FRE 701: improper lay
counties, and the                  witness opinion; FRE 802: hearsay;
inadequacy of existing             see also defendants’ motions in
placements                         limine
                           FRE 602: witness lacks personal    See responses above.
Considerations relating to
                           knowledge; FRE 701: improper lay
the placement of teenagers
                           witness opinion; FRE 802: hearsay;
and the necessary level of
                           see also defendants’ motions in
care for that age group
                           limine
The impact of the                                                                   See responses above.
                                   FRE 602: witness lacks personal
placement array on
                                   knowledge; FRE 701: improper lay
children with disabilities,
                                   witness opinion; FRE 802: hearsay;
and the resulting
                                   see also defendants’ motions in
consequences to those
                                   limine
children
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                                                  Tracy Frazier
          Testimony                     Defendants’ Objections                          Plaintiffs’ Response
“Unique burdens” on                FRE 602: witness lacks personal    See responses above.
children with disabilities         knowledge; FRE 701: improper lay
in rural communities and           witness opinion; FRE 802: hearsay;
the “poor outcomes” for            see also defendants’ motions in
that group of children             limine
Anecdotal evidence of a     FRE 401: lack of relevance (report See responses above.
five-year-old child who     was unfounded; no maltreatment
experienced a head injury occurred); FRE 403: unfairly
while in care, which was prejudicial, misleading, speculative;
determined to be            FRE 602: witness lacks personal
unfounded, and the timing knowledge; FRE 701: improper lay
of Ms. Frazier’s receipt of witness opinion; FRE 802: hearsay;
the reports related to this see also defendants’ motions in
incident                    limine
Anecdotal evidence                 FRE 401: lack of relevance (the     See responses above.
relating to a teenager who         accused caseworker was not charged
was allegedly sexually             and never has been); FRE 403:
abused by their                    unfairly prejudicial, misleading,
caseworker, and the                speculative; FRE 602: witness lacks
timing and circumstances           personal knowledge; FRE 701:
of Ms. Frazier’s receipt of        improper lay witness opinion; FRE
information relating to the        802: hearsay1; see also defendants’
alleged assault                    motions in limine
                          FRE 403: unduly prejudicial and                           See responses above. In
                          misleading; FRE 602: lacks                                addition, please see response
Additional testimony upon personal knowledge; FRE 701:                              to Defendants’ motion in
entry of a revised        improper lay witness opinion; FRE                         limine addressing the FRCP
protective order          802: hearsay; FRCP 37(c):                                 37(c) argument.
                          exclusion for failure to disclose; see
                          also defendants’ motions in limine
                                   FRE 403: unfairly prejudicial,      See responses above.
Belief that ODHS is and            misleading, speculative; FRE 602:
was intentionally                  witness lacks personal knowledge;
withholding information            FRE 701: improper lay witness
from parties                       opinion; FRE 802: hearsay; see also
                                   defendants’ motions in limine


1
 Plaintiffs specify that Ms. Frazier did not learn about either of her anecdotes from ODHS, any ODHS employees,
or the Oregon Department of Justices. She learned them from other sources. Because of this, her anecdotes rely on
no party-opponent statements at all.

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       8. Sen. Sara Gelser Blouin (Chair, Oregon Senate Human Services Committee),
                                    Fact Witness – Page 16

                                            Sen. Sara Gelser Blouin
          Testimony                        Defendants’ Objections                         Plaintiffs’ Response
                              FRE 401: lack of relevance to claims See responses above. In
                              and defenses at issue in this case; FRE addition, Defendants’ FRE
                              403: unduly prejudicial and               702 objection is improper
                              misleading; FRE 602: lacks personal as any opinion of Senator
All listed topics (Ex. 5 at 2 knowledge; FRE 701: improper lay          Gelser Blouin will be an
(ECF 385-5 at 2)).2           witness opinion; FRE 702: improper, opinion appropriate
                              undisclosed expert opinion; FRE 802: pursuant to FRE 701.
                              hearsay; FRCP 37(c): exclusion for
                              failure to disclose; see also defendants’
                              motions in limine
                                   FRE 401: lack of relevance to claims See responses above. In
                                   and defenses at issue in this case; FRE addition, Defendants’ FRE
                                   403: unduly prejudicial and               702 objection is improper
                                   misleading; FRE 408: evidence of          as any opinion of Senator
                                   settlements is inadmissible to prove      Gelser Blouin will be an
Temporary lodging;                 liability; FRE 602: lacks personal        opinion appropriate
Dynamic Life                       knowledge; FRE 701: improper lay          pursuant to FRE 701.
                                   witness opinion; FRE 702: improper,
                                   undisclosed expert opinion; FRE 802:
                                   hearsay; FRCP 37(c): exclusion for
                                   failure to disclose; see also defendants’
                                   motions in limine

                    9. Holly Hampton (resource parent), Fact Witness – Page 16

                                                  Holly Hampton
         Testimony                        Defendants’ Objections                          Plaintiffs’ Response
Ms. Hampton’s resource             FRE 602: witness lacks personal                   See responses above.
home is the only one in            knowledge; FRE 701: improper lay
Clackamas County that              witness opinion; FRE 802: hearsay;
will accept more than one          see also defendants’ motions in limine
teenager at a time




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                                                  Holly Hampton
         Testimony                        Defendants’ Objections                          Plaintiffs’ Response
Most Clackamas County FRE 602: witness lacks personal                                See responses above.
teens are forced to go into knowledge; FRE 701: improper lay
shelters or more restrictive witness opinion; FRE 802: hearsay;
placements because no        see also defendants’ motions in limine
other options exist
Clackamas County teens FRE 602: witness lacks personal                               See responses above.
are pushed into “any place knowledge; FRE 701: improper lay
that has a bed” regardless witness opinion; FRE 802: hearsay;
of the fit                 see also defendants’ motions in limine
Clackamas County fails to FRE 602: witness lacks personal                            See responses above.
meet federal standards    knowledge; FRE 701: improper lay
aimed at limiting         witness opinion; FRE 802: hearsay;
placement disruptions     see also defendants’ motions in limine
The alleged sexual abuse           FRE 602: witness lacks personal                   See responses above.
and maltreatment of a              knowledge; FRE 701: improper lay
foster child in Ms.                witness opinion; FRE 802: hearsay;
Hampton’s home                     see also defendants’ motions in limine
Lack of connection        FRE 602: witness lacks personal                            See responses above.
between caseworkers and knowledge; FRE 802: hearsay; see
children and young adults also defendants’ motions in limine
Participation in ODHS’s            FRE 401: lack of relevance; FRE 802: See responses above.
Community Chats                    hearsay; see also defendants’ motions
program and answers to             in limine
her questions

               10. K.H. (former foster child or young adult), Fact Witness – Page 18

                                                          K.H.
         Testimony                        Defendants’ Objections                          Plaintiffs’ Response
Video referenced in                FRE 802: hearsay; see also                        See responses above.
witness statement                  defendants’ motions in limine




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                11. Dr. Albyn Jones (professor emeritus), Expert Witness – Page 19

                                             Dr. Albyn Jones
           Testimony                  Defendants’ Objections                          Plaintiffs’ Response
                                   See defendants’ Daubert                       There is no Daubert motion
Expert report dated March 1,       motion; FRE 802: hearsay (if                  directed at Dr. Jones.
2024.                              plaintiffs intend to introduce                Otherwise, see responses above.
                                   expert reports as evidence)

           12. Resa Kee (Court-Appointed Special Advocate), Fact Witness – Page 20

                                                   Resa Kee
           Testimony                   Defendants’ Objections                          Plaintiffs’ Response
                                   FRE 403: unduly prejudicial and                See responses above;
Child Welfare has “failed”         misleading; FRE 602: witness                   additionally, see plaintiffs
Child X and “harmed” that          lacks personal knowledge; FRE                  response to defendants’
child, including his               701: improper lay witness                      motions in limine specifically
“prolonged and unnecessary”        opinion; FRE 701: improper                     relating to the FRCP 37(c)
placement in residential           legal conclusion; FRE 802:                     issue.
settings and temporary             hearsay; FRCP 37(c): exclusion
lodging                            for failure to disclose; see also
                                   defendants’ motions in limine
                               FRE 403: unduly prejudicial and                    See responses above;
Anecdote related to an         misleading; FRE 602: witness                       additionally, see plaintiffs
“instance where ODHS did       lacks personal knowledge; FRE                      response to defendants’
not know where Child X was 701: improper lay witness                              motions in limine specifically
placed due to frequent and     opinion; FRE 701: improper                         relating to the FRCP 37(c)
undocumented moves,” and       legal conclusion; FRE 802:                         issue.
his “extreme isolation” during hearsay; FRCP 37(c): exclusion
this time                      for failure to disclose; see also
                               defendants’ motions in limine
                                   FRE 602: witness lacks personal                See responses above;
                                   knowledge; FRE 701: improper                   additionally, see plaintiffs
ODHS “brushed off”
                                   lay witness opinion; FRE 701:                  response to defendants’
placement options or
                                   improper legal conclusion; FRE                 motions in limine specifically
“inappropriately” barred
                                   802: hearsay; FRCP 37(c):                      relating to the FRCP 37(c)
exploration of relative
                                   exclusion for failure to disclose;             issue.
placements
                                   see also defendants’ motions in
                                   limine




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                                                   Resa Kee
           Testimony                   Defendants’ Objections                         Plaintiffs’ Response
                                   FRE 602: witness lacks personal               See responses above;
                                   knowledge; FRE 701: improper                  additionally, see plaintiffs
                                   lay witness opinion; FRE 701:                 response to defendants’
ODHS’s case management
                                   improper legal conclusion; FRE                motions in limine specifically
was poor and resulted in
                                   802: hearsay; FRCP 37(c):                     relating to the FRCP 37(c)
injury to Child X
                                   exclusion for failure to disclose;            issue.
                                   see also defendants’ motions in
                                   limine
                                   FRE 403: unduly prejudicial and               See responses above;
                                   misleading; FRE 602: witness                  additionally, see plaintiffs
                                   lacks personal knowledge; FRE                 response to defendants’
Child X had a disability that      701: improper lay witness                     motions in limine specifically
ODHS misidentified as a            opinion; FRE 701: improper                    relating to the FRCP 37(c)
behavioral problem                 legal conclusion; FRE 802:                    issue.
                                   hearsay; FRCP 37(c): exclusion
                                   for failure to disclose; see also
                                   defendants’ motions in limine
                             FRE 403: unduly prejudicial and                     See responses above;
                             misleading; FRE 602: witness                        additionally, see plaintiffs
ODHS mishandled Child X’s lacks personal knowledge; FRE                          response to defendants’
medication, which included   701: improper lay witness                           motions in limine specifically
“significant withdrawal      opinion; FRE 701: improper                          relating to the FRCP 37(c)
effects” that aggravated his legal conclusion; FRE 802:                          issue.
mental health conditions     hearsay; FRCP 37(c): exclusion
                             for failure to disclose; see also
                             defendants’ motions in limine
                                   FRE 401: lack of relevance                    See responses above;
                                   (reports “suspected”                          additionally, see plaintiffs
                                   maltreatment, which does not                  response to defendants’
                                   appear to have been confirmed);               motions in limine specifically
Instances of “suspected            FRE 403: unduly prejudicial and               relating to the FRCP 37(c)
reports” of maltreatment of        misleading; FRE 602: witness                  issue.
Child X, and the timing of         lacks personal knowledge; FRE
Ms. Kee’s receipt of related       701: improper lay witness
reports                            opinion; FRE 701: improper
                                   legal conclusion; FRE 802:
                                   hearsay; FRCP 37(c): exclusion
                                   for failure to disclose; see also
                                   defendants’ motions in limine



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                                                   Resa Kee
           Testimony                   Defendants’ Objections                         Plaintiffs’ Response
                                   FRE 403: unduly prejudicial and               See responses above;
Child X has been deprived of       misleading; FRE 602: witness                  additionally, see plaintiffs
services and educational           lacks personal knowledge; FRE                 response to defendants’
opportunities and has been         701: improper lay witness                     motions in limine specifically
supervised by “untrained”          opinion; FRE 701: improper                    relating to the FRCP 37(c)
staff, as well as being            legal conclusion; FRE 802:                    issue.
“deprived of basic childhood       hearsay; FRCP 37(c): exclusion
needs and activities”              for failure to disclose; see also
                                   defendants’ motions in limine
                                   FRCP 37(c): exclusion for failure See responses above;
                                   to disclose; see also defendants’ additionally, see plaintiffs
                                   motions in limine                 response to defendants’
Undisclosed identity
                                                                     motions in limine specifically
                                                                     relating to the FRCP 37(c)
                                                                     issue.
                                   FRE 701: improper lay witness                 See responses above.
K.H. received no services to
                                   opinion; FRE 802: hearsay; see
“address her trauma,” which
                                   also defendants’ motions in
resulted in maltreatment
                                   limine
K.H. was harmed and                FRE 701: improper legal                       See responses above.
“abused” by the foster care        conclusion; see also defendants’
system                             motions in limine
Video referenced in witness        FRE 802: hearsay; see also                    See responses above.
statement                          defendants’ motions in limine

                         13. Judah Largent (attorney), Fact Witness – Page 22

                                              Judah Largent
           Testimony                   Defendants’ Objections                         Plaintiffs’ Response
Child Welfare is “uniquely       FRE 602: witness lacks personal See responses above.
failing children with            knowledge; FRE 701: improper
disabilities,” including lacking lay witness opinion; FRE 701:
sufficient caregivers and        improper legal conclusion; FRE
services, and over-relying on 802: hearsay
residential facilities




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                                              Judah Largent
           Testimony                   Defendants’ Objections                         Plaintiffs’ Response
ODHS fails to ensure               FRE 602: witness lacks personal See responses above.
continuity of care for services    knowledge; FRE 701: improper
after children are released        lay witness opinion; FRE 802:
from residential care, often       hearsay; see also defendants’
resulting in problems like         motions in limine
medication mismanagement
A “hot potato” phenomenon FRE 602: witness lacks personal See responses above.
exists where children with       knowledge; FRE 701: improper
disabilities remain untreated lay witness opinion; FRE 802:
and end up in an                 hearsay; see also defendants’
“interminable placement          motions in limine
transition” that results in them
“languishing” in temporary
lodging
                             FRE 403: unduly prejudicial and                     See responses above;
                             misleading; FRE 602: witness                        additionally, see plaintiffs
In one unnamed child’s case, lacks personal knowledge; FRE                       response to defendants’
the child experienced nearly 701: improper lay witness                           motions in limine specifically
50 placements. This anecdote opinion; FRE 701: improper                          relating to the FRCP 37(c)
will be used to demonstrate  legal conclusion; FRE 802:                          issue.
systemic problems.           hearsay; FRCP 37(c): exclusion
                             for failure to disclose; see also
                             defendants’ motions in limine
                                   FRE 403: unduly prejudicial and See responses above.
Oregon’s use of temporary
                                   misleading; FRE 602: witness
lodging is “widely injurious”
                                   lacks personal knowledge; FRE
to children, including because
                                   701: improper lay witness
children in temporary lodging
                                   opinion; FRE 701: improper
are not “in care” for purposes
                                   legal conclusion; FRE 802:
of abuse reporting and
                                   hearsay; see also defendants’
investigations
                                   motions in limine
                                   FRE 403: unduly prejudicial and See responses above.
                                   misleading; FRE 602: witness
ODHS’s response to                 lacks personal knowledge; FRE
“perceived retaliation against     701: improper lay witness
children who disclose              opinion; FRE 701: improper
maltreatment”                      legal conclusion; FRE 802:
                                   hearsay; see also defendants’
                                   motions in limine



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                                              Judah Largent
           Testimony                    Defendants’ Objections                        Plaintiffs’ Response
                                   FRE 403: unduly prejudicial and See responses above.
Child Welfare allows for too       misleading; FRE 602: witness
many placement turnovers,          lacks personal knowledge; FRE
which result in loss of            701: improper lay witness
services and injuries to           opinion; FRE 701: improper
children and young adults in       legal conclusion; FRE 802:
foster care                        hearsay; see also defendants’
                                   motions in limine
                                   FRE 401: lacks relevance                      See responses above.
                                   because it does not relate to any
ODHS is “resistant” to             claim or defense; FRE 602:
producing abuse reports and        witness lacks personal
assessments                        knowledge; FRE 802: hearsay;
                                   see also defendants’ motions in
                                   limine
                               FRE 403: unduly prejudicial and                   See responses above;
ODHS fails to provide          misleading; FRE 602: witness                      additionally, see plaintiffs
transition planning for        lacks personal knowledge; FRE                     response to defendants’
children in foster care,       701: improper lay witness                         motions in limine specifically
including a specific child who opinion; FRE 701: improper                        relating to the FRCP 37(c)
was left homeless in the       legal conclusion; FRE 802:                        issue.
winter and told to “figure it  hearsay; FRCP 37(c): exclusion
out.”                          for failure to disclose; see also
                               defendants’ motions in limine

                         14. Caroline Moore (attorney), Fact Witness – Page 25

                                             Caroline Moore
            Testimony                   Defendants’ Objections                        Plaintiff’s Response
ODHS has a “vast                    FRE 602: witness lacks personal See responses above.
undersupply” of appropriate         knowledge; FRE 701: improper
placements, especially for          lay witness opinion; FRE 701:
teenagers and high-needs            improper legal conclusion; FRE
children; ODHS caseworkers          802: hearsay; see also
have observed this lack of          defendants’ motions in limine
placements




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                                            Caroline Moore
            Testimony                  Defendants’ Objections                        Plaintiff’s Response
Caseworkers “consistently          FRE 602: witness lacks personal See responses above.
fail” to complete timely           knowledge; FRE 701: improper
assessments of children,           lay witness opinion; FRE 701:
sometimes not within six           improper legal conclusion; FRE
months of the initiation of the    802: hearsay; see also
case                               defendants’ motions in limine
                                   FRE 602: witness lacks personal See responses above.
Children “regularly do not         knowledge; FRE 701: improper
receive” services, particularly    lay witness opinion; FRE 701:
with respect to mental health      improper legal conclusion; FRE
needs                              802: hearsay; see also
                                   defendants’ motions in limine
                                   FRE 403: unduly prejudicial and See responses above;
Anecdote related to an
                                   misleading; FRE 602: witness      additionally, see plaintiffs
unidentified child who was
                                   lacks personal knowledge; FRE response to defendants’
ultimately placed with the
                                   701: improper lay witness         motions in limine specifically
Oregon Youth Authority after
                                   opinion; FRE 701: improper        relating to the FRCP 37(c)
his probation was revoked,
                                   legal conclusion; FRE 802:        issue.
which Ms. Moore attributes to
                                   hearsay; FRCP 37(c): exclusion
his lack of mental health
                                   for failure to disclose; see also
services
                                   defendants’ motions in limine
                                FRE 602: witness lacks personal See responses above.
ODHS experiences a              knowledge; FRE 701: improper
“revolving door” of             lay witness opinion; FRE 701:
caseworkers that results in low improper legal conclusion; FRE
quality service provisions      802: hearsay; see also
                                defendants’ motions in limine
                                 FRE 401: lacks relevance                       See responses above.
                                 because it does not relate to any
Ms. Moore is not always
                                 claim or defense; FRE 602:
provided reports and
                                 witness lacks personal
information related to the cases
                                 knowledge; FRE 802: hearsay;
of the children she represents
                                 see also defendants’ motions in
                                 limine




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                                            Caroline Moore
            Testimony                  Defendants’ Objections                        Plaintiff’s Response
                               FRE 403: unduly prejudicial and See responses above;
                               misleading; FRE 602: witness      additionally, see plaintiffs
                               lacks personal knowledge; FRE response to defendants’
Testimony related to treatment 701: improper lay witness         motions in limine specifically
records of Ms. Moore’s         opinion; FRE 701: improper        relating to the FRCP 37(c)
undisclosed client             legal conclusion; FRE 802:        issue.
                               hearsay; FRCP 37(c): exclusion
                               for failure to disclose; see also
                               defendants’ motions in limine

  15. Kari Pinard (Executive Director CASA Voices for Children), Fact Witness – Page 27

                                               Kari Pinard
            Testimony                  Defendants’ Objections                        Plaintiffs’ Response
The numbers of children in         FRE 602: witness lacks personal See responses above.
care have been significantly       knowledge; FRE 701: improper
reduced, and children entering     lay witness opinion; FRE 701:
care are “more traumatized         improper legal conclusion; FRE
than in years past” because of     802: hearsay; see also
ODHS’s delayed intervention        defendants’ motions in limine
and failure to appropriately
respond to calls
                                   FRE 602: witness lacks personal See responses above.
Children are not provided
                                   knowledge; FRE 701: improper
appropriate, stable placements,
                                   lay witness opinion; FRE 701:
which is caused in part by a
                                   improper legal conclusion; FRE
lack of training for resource
                                   802: hearsay; see also
families
                                   defendants’ motions in limine
                                   FRE 602: witness lacks personal See responses above.
ODHS does not provide              knowledge; FRE 701: improper
support to resource families,      lay witness opinion; FRE 701:
appropriate respite care, or       improper legal conclusion; FRE
support plans                      802: hearsay; see also
                                   defendants’ motions in limine
                                   FRE 602: witness lacks personal See responses above.
                                   knowledge; FRE 701: improper
Benton County has one of the
                                   lay witness opinion; FRE 701:
most “severe” deficits of
                                   improper legal conclusion; FRE
resource families in Oregon
                                   802: hearsay; see also
                                   defendants’ motions in limine

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                                               Kari Pinard
            Testimony                  Defendants’ Objections                        Plaintiffs’ Response
                                   FRE 602: witness lacks personal See responses above.
Placement deficits lead to trial
                                   knowledge; FRE 701: improper
home visits before a child’s
                                   lay witness opinion; FRE 701:
parent is ready because ODHS
                                   improper legal conclusion; FRE
has “nowhere else to place the
                                   802: hearsay; see also
child.”
                                   defendants’ motions in limine
                               FRE 401: lack of relevance to                    See responses above;
                               claims and defenses at issue in                  additionally, see plaintiffs
                               this case; FRE 403: unduly                       response to defendants’
ODHS’s reliance on temporary prejudicial and misleading; FRE                    motions in limine specifically
lodging, the conditions and    408: evidence of settlements is                  relating to the FRCP 37(c)
treatment of children in       inadmissible to prove liability;                 issue.
Dynamic Life, how ODHS         FRE 602: lacks personal
uses Dynamic Life, Ms.         knowledge; FRE 701: improper
Pinard’s own interactions with lay witness opinion; FRE 702:
the provider, and the lack of  improper, undisclosed expert
training of Dynamic Life staff opinion; FRE 802: hearsay;
                               FRCP 37(c): exclusion for
                               failure to disclose; see also
                               defendants’ motions in limine
ODHS “compounds the                                                             See responses above.
                                   FRE 602: witness lacks personal
trauma” of children in foster
                                   knowledge; FRE 701: improper
care by inadequately
                                   lay witness opinion; FRE 701:
addressing their needs,
                                   improper legal conclusion; FRE
including an inadequate
                                   802: hearsay; see also
administration of the CANS
                                   defendants’ motions in limine
assessment
                                   FRE 602: witness lacks personal See responses above.
ODHS’s contracts with service
                                   knowledge; FRE 701: improper
providers create a barrier to
                                   lay witness opinion; FRE 701:
children receiving appropriate
                                   improper legal conclusion; FRE
services, medication, and other
                                   802: hearsay; see also
necessary care
                                   defendants’ motions in limine
ODHS’s Child Abuse Hotline FRE 602: witness lacks personal See responses above.
does not provide reports about knowledge; FRE 701: improper
outcomes of reports of abuse, lay witness opinion; FRE 701:
ODHS is “secretive” about its improper legal conclusion; FRE
activities, and Child Welfare  802: hearsay; see also
generally communicates poorly defendants’ motions in limine
with CASA and others


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                                                 Kari Pinard
            Testimony                    Defendants’ Objections                        Plaintiffs’ Response
Teens and young adults who        FRE 602: witness lacks personal See responses above.
age out of foster care do not     knowledge; FRE 701: improper
receive the supports or benefits lay witness opinion; FRE 701:
they need, and wait lists are too improper legal conclusion; FRE
long for many children to         802: hearsay; see also
access transition services        defendants’ motions in limine

                          16. S.S. (former foster child), Fact Witness – Page 32

                                                        S.S.
             Testimony                    Defendants’ Objections                       Plaintiffs’ Response
                                      FRCP 37(c): exclusion for                   See responses above;
                                      failure to disclose; see also               additionally, see plaintiffs
                                      defendants’ motions in limine               response to defendants’
Undisclosed identity
                                                                                  motions in limine specifically
                                                                                  relating to the FRCP 37(c)
                                                                                  issue.
                                  FRE 701: improper lay witness See responses above.
S.S. did not receive the services
                                  opinion; FRE 802: hearsay; see
she needed to address her
                                  also defendants’ motions in
mental health and trauma
                                  limine
                                      FRE 401: lack of relevance to See responses above.
S.S.’s out-of-state placement,        any claim or defense (ODHS no
including all allegations of the      longer places children in out-of-
treatment and abuse that she          state residential facilities); see
received there                        also defendants’ motions in
                                      limine

                          17. Annette Smith (attorney), Fact Witness – Page 34

                                               Annette Smith
             Testimony                    Defendants’ Objections                       Plaintiffs’ Response
                                   FRE 602: witness lacks          See responses above.
ODHS’s lack of resource care
                                   personal knowledge; FRE 701:
providers results in it relying on
                                   improper lay witness opinion;
expensive temporary lodging
                                   FRE 701: improper legal
diversion homes or institutional
                                   conclusion; FRE 802: hearsay;
placements for children with
                                   see also defendants’ motions in
disabilities
                                   limine

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                                               Annette Smith
             Testimony                    Defendants’ Objections                       Plaintiffs’ Response
                                      FRE 602: witness lacks          See responses above.
ODHS has “profound deficits”          personal knowledge; FRE 701:
in its provision of services,         improper lay witness opinion;
including for mental health,          FRE 701: improper legal
developmental disabilities, and       conclusion; FRE 802: hearsay;
medication services                   see also defendants’ motions in
                                      limine
                                      FRE 602: witness lacks          See responses above.
                                      personal knowledge; FRE 701:
ODHS engages in poor                  improper lay witness opinion;
assessment practices and poor         FRE 701: improper legal
casework                              conclusion; FRE 802: hearsay;
                                      see also defendants’ motions in
                                      limine
                               FRE 401: lacks relevance          See responses above.
                               because it does not relate to any
A Lane County Circuit Court    claim or defense; FRE 602:
Judge recently criticized ODHS witness lacks personal
for its discovery practices    knowledge; FRE 802: hearsay;
                               see also defendants’ motions in
                               limine

                        18. Tahra Sinks, J.D. (attorney), Fact Witness – Page 35

                                                 Tahra Sinks
             Testimony                    Defendants’ Objections                       Plaintiffs’ Response
                                FRE 401: not relevant to any      See responses above.
                                claim or defense; FRE 403:
                                unfairly prejudicial, misleading;
Ms. Sinks did not receive       FRE 408: settlement
reports and other information   agreements are inadmissible;
regarding her client’s alleged  FRE 602: witness lacks
abuse by his resource parent,   personal knowledge; FRE 701:
including screening reports and improper lay witness opinion;
a forensic interview            FRE 701: improper legal
                                conclusion; FRE 802: hearsay;
                                see also defendants’ motions in
                                limine




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                                                Tahra Sinks
             Testimony                   Defendants’ Objections                       Plaintiffs’ Response
                                 FRE 602: witness lacks          See responses above.
                                 personal knowledge; FRE 701:
ODHS continues to withhold
                                 improper lay witness opinion;
maltreatment records relating to
                                 FRE 701: improper legal
abuse occurring in resource
                                 conclusion; FRE 802: hearsay;
homes
                                 see also defendants’ motions in
                                 limine

                       19. Lindsay Soto, J.D. (attorney), Fact Witness – Page 37

                                           Lindsay Soto, J.D.
           Testimony                   Defendants’ Objections                        Plaintiffs’ Response
                               FRE 401: not relevant to any                      See responses above.
                               claim or defense; FRE 403:
                               unfairly prejudicial, misleading;
Mr. Soto did not receive
                               FRE 408: settlement agreements
reports and other information
                               are inadmissible; FRE 602:
regarding his client’s alleged
                               witness lacks personal
abuse, including emails,
                               knowledge; FRE 701: improper
screening reports, and other
                               lay witness opinion; FRE 701:
investigative materials
                               improper legal conclusion; FRE
                               802: hearsay; see also
                               defendants’ motions in limine

                        20. Dr. Sue D. Steib (LCSW), Expert Witness – Page 38

                                             Dr. Sue D. Steib
             Testimony                 Defendants’ Objections                        Plaintiffs’ Response
                           See defendants’ Daubert                               See Plaintiffs’ responses to
Expert reports dated       motion; FRE 802: hearsay (if                          Defendants’ Daubert motion;
December 9, 2019; December plaintiffs intend to introduce                        see responses to Defendants’
15, 2023; March 1, 2024.   expert reports as evidence)                           objections to Plaintiffs’
                                                                                 exhibits.




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                           21. Gina Stewart (attorney), Fact Witness – Page 38

                                                Gina Stewart
             Testimony                   Defendants’ Objections                    Plaintiffs’ Response
                                     FRE 602: witness lacks          See responses above.
 An “incredible” lack of
                                     personal knowledge; FRE 701:
 resource placements exists in
                                     improper lay witness opinion;
 Douglas County, and the
                                     FRE 701: improper legal
 homes that do exists are often
                                     conclusion; FRE 802: hearsay;
 inappropriate for the children
                                     see also defendants’ motions in
 they house
                                     limine
                                 FRE 602: witness lacks          See responses above.
 Douglas County has a
                                 personal knowledge; FRE 701:
 “dearth” of treatment
                                 improper lay witness opinion;
 providers, secondary supports,
                                 FRE 701: improper legal
 and access to transition
                                 conclusion; FRE 802: hearsay;
 services, primarily as a result
                                 see also defendants’ motions in
 of staff turnover
                                 limine
                                     FRE 602: witness lacks          See responses above.
 ODHS offices in Douglas             personal knowledge; FRE 701:
 County experience high              improper lay witness opinion;
 turnover, which exacerbates         FRE 701: improper legal
 the lack of services and            conclusion; FRE 802: hearsay;
 supports for children               see also defendants’ motions in
                                     limine
                                     FRE 401: lacks relevance          See responses above.
 ODHS withholds information          because it does not relate to any
 and records relating to             claim or defense; FRE 602:
 maltreatment in care,               witness lacks personal
 including from children’s           knowledge; FRE 802: hearsay;
 attorneys                           see also defendants’ motions in
                                     limine




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                                            Gina Stewart
             Testimony               Defendants’ Objections                    Plaintiffs’ Response
                                FRE 401: not relevant to any      See responses above.
                                claim or defense; FRE 403:
                                unfairly prejudicial, misleading;
                                FRE 408: settlement
 Mr. Soto did not receive       agreements are inadmissible;
 reports and other information FRE 602: witness lacks
 regarding his client’s alleged personal knowledge; FRE 701:
 abuse, including emails,       improper lay witness opinion;
 screening reports, and other   FRE 701: improper legal
 investigative materials        conclusion; FRE 802: hearsay;
                                see also defendants’ motions in
                                limine




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       PLAINTIFFS’ RESPONSE TO OBJECTIONS – SUPPLEMENTAL WITNESS
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        22. Lacey Andresen (Deputy Director of Child Welfare), Fact Witness – Page 2

                                             Lacey Andresen
             Testimony                  Defendants’ Objections                      Plaintiffs’ Response
 Permanency workers are            FRE 701: improper legal                       See responses above.
 responsible to inform             conclusion; FRE 802: hearsay;
 dependency parties about the      see also defendants’ motions in
 child’s medical status.           limine
 Complex trauma and its       FRE 701: improper lay witness                      See responses above.
 cumulative effects can reach opinion; see also defendants’
 into adulthood.              motions in limine
 During her work at DHS            FRE 401: lack of relevance to                 See responses above.
 Marion County, Andresen           any claim or defense; FRE 403:
 did not observe a practice of     misleading; see also defendants’
 meeting with foster parents,      motions in limine
 in contradiction of claims in
 the 2021 Vision for
 Transformation.
 Whether ODHS                      FRE 401: lack of relevance to                 See responses above.
 “responsibly” informs             any claim or defense; FRE 701:
 children’s medical providers      improper legal opinion; see also
 of abuse under Karly’s Law        defendants’ motions in limine
 is “far from clear.”

                23. Sara Fox (Treatment Services Manager), Fact Witness – Page 3

                                                   Sara Fox
            Testimony                   Defendants’ Objections                        Plaintiffs’ Response
The “sharp drops” in               FRE 401: lack of relevance to any See responses above.
placement capacity across          claim or defense; see also
different treatment services       defendants’ motions in limine
resources.
Testimony regarding day          FRE 401: lack of relevance to any See responses above.
services, FOCUS services,        claim or defense; see also
independent living programs, defendants’ motions in limine
and other non-residential
services, and their pilot status
(if applicable).

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                                                   Sara Fox
            Testimony                   Defendants’ Objections                        Plaintiffs’ Response
Instructions to Ms. Fox’s    FRE 401: lack of relevance to any See responses above.
team from Child Welfare’s    claim or defense; FRE 403:
Executive Leadership Team misleading; see also defendants’
to remove “negative” words motions in limine
like “crisis,” “gap,” and
“lack” from their
communications, particularly
with the Legislature.

                     24. Kevin George (ODHS employee), Fact Witness – Page 4

                                               Kevin George
           Testimony                   Defendants’ Objections                         Plaintiffs’ Response
                              FRE 401: lack of relevance to                      See responses above.
                              any claim or defense; FRE 701:
Child Welfare has not         improper lay witness testimony;
“passed” its last three CFSRs FRE 701: improper legal
                              conclusion; see also defendants’
                              motions in limine
                                   FRE 401: lack of relevance to                 See responses above.
“Concerns regarding the            any claim or defense; FRE 602:
branch offices’ fidelity to the    witness lacks personal
SAFE home study”                   knowledge; see also defendants’
                                   motions in limine
The Child-Specific                                                               See responses above.
                                   FRE 401: lack of relevance to
Certification process, and the
                                   any claim or defense; FRE 602:
fact that “DHS Central Office
                                   witness lacks personal
became aware that branch
                                   knowledge; FRE 802: hearsay;
offices used the CSC process
                                   see also defendants’ motions in
to certify providers unknown
                                   limine
to children.”
Having the branch offices          FRE 401: lack of relevance to                 See responses above.
conduct their own child abuse      any claim or defense; FRE 602:
investigations raised the          witness lacks personal
potential for conflict, which      knowledge; see also defendants’
went unaddressed.                  motions in limine




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                                              Kevin George
           Testimony                  Defendants’ Objections                         Plaintiffs’ Response
                               FRE 401: lack of relevance to                    See responses above.
Sensitive Issue Reports were any claim or defense; FRE 602:
issued out of concern for      witness lacks personal
media attention and to apprise knowledge; FRE 802: hearsay;
agency leadership.             see also defendants’ motions in
                               limine

                                      25. Hon. Daniel J. Wren

                                         Hon. Daniel J. Wren
           Testimony                  Defendants’ Objections                         Plaintiffs’ Response
                                FRE 401: not relevant to any                    See responses above.
                                claim or defense; FRE 403:
Judge Wren did not receive
                                unfairly prejudicial, misleading;
reports and other information
                                FRE 408: settlement agreements
regarding his client’s alleged
                                are inadmissible; FRE 602:
abuse, including screening
                                witness lacks personal
reports and other investigative
                                knowledge; FRE 701: improper
materials, and information
                                lay witness opinion; FRE 701:
that her resource parent had
                                improper legal conclusion; FRE
admitted to the abuse
                                802: hearsay; see also
                                defendants’ motions in limine

                    26. Dawn Hunter (Program Manager), Fact Witness – Page 6

                                              Dawn Hunter
            Testimony                   Defendants’ Objections                       Plaintiffs’ Response
Concerns relating to the        FRE 401: lack of relevance to                   See responses above.
Sensitive Issue Report process, any claim or defense; FRE 602:
and the “lack of                witness lacks personal
implementation” of              knowledge; FRE 802: hearsay;
recommendations as a result of see also defendants’ motions in
those reviews.                  limine
                                   FRE 401: lack of relevance to                See responses above.
“No changes in personnel,          any claim or defense; FRE 602:
training, or practice occurred     witness lacks personal
as a result of the serious         knowledge; FRE 802: hearsay;
instances of abuse in care.”       see also defendants’ motions in
                                   limine


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                                              Dawn Hunter
            Testimony                   Defendants’ Objections                       Plaintiffs’ Response
                                   FRE 401: lack of relevance to                See responses above.
The process for informing
                                   any claim or defense; FRE 602:
relevant parties of
                                   witness lacks personal
maltreatment in care and who
                                   knowledge; FRE 802: hearsay;
does or does not receive this
                                   see also defendants’ motions in
information
                                   limine
                                FRE 401: lack of relevance to                   See responses above;
                                claims and defenses at issue in                 additionally, see plaintiffs
                                this case; FRE 403: unduly                      response to defendants’
Instances of abuse of
                                prejudicial and misleading; FRE                 motions in limine specifically
individual children in resource
                                602: lacks personal knowledge;                  relating to the FRCP 37(c)
homes, including but not
                                FRE 802: hearsay; FRCP 37(c):                   issue.
limited to two named plaintiffs
                                exclusion for failure to disclose;
                                see also defendants’ motions in
                                limine
Placement capacity of resource                                                  See responses above.
                               FRE 401: lack of relevance to
homes in Marion County and
                               any claim or defense; see also
certification process for
                               defendants’ motions in limine
placing children

    27. Rebecca Jones-Gaston (former Director of Child Welfare), Fact Witness – Page 8

                                       Rebecca Jones-Gaston
            Testimony                  Defendants’ Objections                        Plaintiffs’ Response
                                   FRCP 27: perpetuation deposition Plaintiffs do not intend to call
                                   (to the extent plaintiffs attempt to Ms. Jones-Gaston as a live
All testimony.
                                   call Ms. Jones- Gaston as a live     witness.
                                   witness).
Testimony regarding Ms.         FRE 802: hearsay; see also                      See responses above.
Jones-Gaston’s reactions to     defendants’ motions in limine
statements in a report by Casey
Family Programs
Testimony regarding           FRE 401: lack of relevance to                     See responses above.
placement of children, number any claim or defense; see also
of placements, or effect of   defendants’ motions in limine
Vision for Transformation on
placement array or services




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                28. Fariborz Pakseresht (Director of ODHS), Fact Witness – Page 9

                                         Fariborz Pakseresht
             Testimony                       Defendants’ Objections                  Plaintiffs’ Response
The existence (or lack thereof)    FRE 401: lack of relevance to any                 See responses above.
of “metrics of success” for the    claim or defense; FRE 403:
Vision for Transformation and      misleading; see also defendants’
any associated timelines           motions in limine
                                   FRE 403: misleading; FRE 802:         See responses above.
Any prior statements by
                                   hearsay; see also defendants’ motions
Governor John Kitzhaber
                                   in limine
Testimony regarding Dynamic                                                          See responses above.
                                   FRE 401: lack of relevance to any
Life and temporary lodging,
                                   claim or defense; FRE 403: unduly
including related testimony
                                   prejudicial and misleading; FRE 802:
before the Oregon Legislature,
                                   hearsay; see also defendants’ motions
complaints from third parties,
                                   in limine
and funding for Dynamic Life

              29. Melanie Parent (Foster Care Coordinator), Fact Witness – Page 12

                                             Melanie Parent
             Testimony                       Defendants’ Objections                   Plaintiffs’ Response
Statements contained in the        FRE 802: hearsay; see also                        See responses above.
2018 Secretary of State Audit      defendants’ motions in limine
regarding the performance of
Child Welfare
The use of the Child Specific      FRE 401: lack of relevance to any                 See responses above.
Certification process and its      claim or defense; see also defendants’
relationship to the available      motions in limine
placement array
The process for Sensitive File     FRE 401: lack of relevance to any                 See responses above.
Reviews and their availability     claim or defense; see also defendants’
to the public                      motions in limine
                                   FRE 401: not relevant to any claim or See responses above.
                                   defense; FRE 403: unfairly prejudicial,
                                   misleading; FRE 408: settlement
The Sensitive File Review          agreements are inadmissible; FRE 602:
related to the J.M. case           witness lacks personal knowledge;
                                   FRE 701: improper legal conclusion;
                                   FRE 802: hearsay; see also
                                   defendants’ motions in limine

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             30. Michelle Pfeiffer (Child Welfare Legislative Coordinator) – Page 14

                                            Michelle Pfeiffer
            Testimony                   Defendants’ Objections                       Plaintiffs’ Response
                                   FRE 401: not relevant to any      See responses above.
                                   claim or defense; FRE 403:
                                   unfairly prejudicial, misleading;
                                   FRE 408: settlement agreements
Testimony relating to CPS          are inadmissible; FRE 602:
investigations in the J.M. case    witness lacks personal
                                   knowledge; FRE 701: improper
                                   legal conclusion; FRE 802:
                                   hearsay; see also defendants’
                                   motions in limine
                                   FRE 403: unfairly prejudicial,               See responses above.
“[T]he bias and lack of
                                   misleading; FRE 602: witness
independence of CPS
                                   lacks personal knowledge; FRE
investigations in the context of
                                   701: improper legal conclusion;
the desperate need for foster
                                   FRE 802: hearsay; see also
placements.”
                                   defendants’ motions in limine


                   DATED this 29th day of April, 2024.

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